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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


    ACQIS LLC,
    a Texas limited liability company,                             6:23-cv-00882
                                                 Civil Action No. ______________

                     Plaintiff,
           v.
                                                 JURY TRIAL DEMANDED
    ADVANTECH CO., LTD., a Taiwanese
    corporation,

                     Defendant.


                  COMPLAINT FOR PATENT INFRINGEMENT
        Plaintiff ACQIS LLC (“Plaintiff” or “ACQIS”), by its attorneys, hereby alleges patent

infringement against Defendant Advantech Co., Ltd. (“Advantech” or “Defendant”), as follows:

                                    INTRODUCTION
        1. This is an action for patent infringement under the United States Patent Laws, 35

U.S.C. § 1 et seq. Beginning in the late 1990s, Dr. William Chu founded ACQIS and invented a

variety of pioneering computer technologies that employed serial transmission along low voltage

differential signal (LVDS) channels to dramatically increase the speed at which data can be

transmitted while also reducing power consumption and noise. Dr. Chu’s inventions have become

foundational in the computer industry, and are found in a variety of data transmission systems,

including PCI Express (PCIe) and/or USB 3.x1 transactions.




1
 As used herein, “USB 3.x” refers to USB 3.0 and subsequent versions, including USB 3.1, USB
3.2, and any other subsequent versions.
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         2. Defendant has infringed the following patents owned by ACQIS: U.S. Patent Nos.

9,703,750 (“’750 patent”), 8,977,797 (“’797 patent”), 9,529,769 (“’769 patent”), RE45,140 (“’140

patent”), and RE44,654 (“’654 patent) (collectively, the “ACQIS Patents”). Copies of the ACQIS

Patents are attached to this Complaint as Exhibits 1-5.

         3. Specifically, Defendant has directly infringed the ACQIS Patents through the

importation into the United States of computer products made abroad using ACQIS’s patented

processes.

         4. ACQIS seeks damages and other relief for Defendant’s infringement of the ACQIS

Patents. ACQIS is entitled to past damages because, without limitation, it has provided actual

notice to Defendant and for method claims which do not require marking or notice.

                     THE PARTIES AND RELATED ENTITIES
         5. Plaintiff ACQIS LLC, is a limited liability company organized and existing under the

laws of the State of Texas, with offices at 411 Interchange Street, McKinney, Texas 75071. A

related entity, ACQIS Technology, Inc., is a corporation organized under the laws of the State of

Delaware, having its principal place of business at 1503 Grant Road, Suite 100, Mountain View,

California 94040. ACQIS LLC is operated from California, where its President, Dr. William Chu,

resides. Dr. Chu is also the Chief Executive Officer of ACQIS Technology, Inc.

         6. Advantech Co., Ltd. is a corporation organized and existing under the laws of Taiwan

that maintains an established place of business at 1, Alley 20, Lane 26, Rueiguang Road, Neihu

District, Taipei City, Taiwan.2 Advantech has sold computer servers, modular computers, and

network products to related Advantech entities and to third parties in the United States, and has




2
    Advantech Co., Ltd. 2022 Annual Report (“Advantech 2022 Annual Report”).

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shipped infringing computer servers, modular computers, and network products to the United

States.

          7. Advantech is the parent company of a multinational conglomerate that operates under

the name “Advantech.”3 Advantech produces and markets “embedded board and IPC products

through distributors, machine/equipment manufacturers, system and integrators, all of whom

consolidate our devices through their own value-added development for sale to end users including

manufacturers, public transportation systems, airports, and any field that requires computing

capability to enhance their information collection and operating efficiency.”4 As shown below,

Advantech markets to corporate and individual customers.




          8. Advantech’s website contains a map of its locations, titled “Distribution of

Advantech’s Operating Locations”5:




3
  Advantech 2022 Annual Report at 91.
4
  Advantech 2022 Annual Report at 94.
5
  Advantech website, https://esg.advantech.com/en-us/operation-and-governance/corporate-
operations-and-governance.

                                                3
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       9. According to its 2022 Annual Report, Advantech’s main markets are China, Europe,

and the United States.6 In addition, Defendant has a long established and continually developing

presence in the United States. The 2022 Report stated plans for expansion, which included:

“Advantech’s North American subsidiary is planning to lease land in Tustin, California and

develop a new headquarters campus in stages by the second quarter of 2023, in response to local

business growth and future expansion needs.”7

       10. “America” is listed as Advantech’s second largest market in its market analysis, with

18,715,069 product sales in 2022.8




6
  Advantech 2022 Annual Report at 91.
7
  Advantech 2022 Annual Report at 91.
8
  Advantech 2022 Annual Report at 93.

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        11. On information and belief, Advantech Corp. (“ANA”), also referred to by Advantech

as ANA, is a California corporation with its principal place of business at 380 Fairview Way

Milpitas, California 95035-3062. ANA is a wholly-owned subsidiary of Advantech for operation

in North America.9 The Director of ANA is K.C. Liu.10 ANA was established in August of 1987

in Milpitas, California.11 ANA engages in the marketing, trade, and assembly of industrial use

computers12 to customers in the United States.

        12. Advantech Automation Corp. is a wholly owned subsidiary of Advantech, which in

turn owns 100% of ANA.13 ANA owns 100% of Advantech Technology Limited (“AIE”), which

is engaged in the “trading of industrial network communication systems.”14 AIE in turn owns

100% of Advantech Czech s.r.o (“ACZ”), which is engaged in the manufacturing of automation

control products.15 The revenues of these four entities are rolled up into, and included in the

financials of, their ultimate parent company Advantech. Advantech derives substantial revenue

and profit from the activities of these entities.

        13. Defendant Advantech shares common control and a close relationship with ANA. As

described in Advantech’s 2022 Annual Report Advantech Chairman and Founder K.C. Liu is also

the Director of ANA as well as the Director of Advantech Automation Corp.16

        14. On information and belief, domestic purchasers of Advantech products (e.g., computer

retailers, IT professionals, and end users) place orders for Advantech products which are then




9
  Advantech 2022 Annual Report at 142.
10
   Advantech 2022 Annual Report at 142.
11
   Advantech 2022 Annual Report at 139.
12
   Advantech 2022 Annual Report at 139.
13
   Advantech 2022 Annual Report at 260.
14
   Advantech 2022 Annual Report at 260.
15
   Advantech 2022 Annual Report at 263.
16
   Advantech 2022 Annual Report at 18, 142.

                                                    5
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manufactured by Advantech or a contracted hardware manufacturer abroad. Advantech then ships

these products to ANA to act as the nominal importer of these products and to fulfill those orders.

       15. Notwithstanding that ANA acts as the nominal importer of the accused products, the

act of importation is properly imputed to Advantech because ANA acts as the alter ego and/or

agent of Advantech for at least the reasons already discussed and at least those below.

               a.     As discussed elsewhere in this Complaint, Advantech claims ANA’s

                      revenue as its own in consolidated financial reporting.

               b.     As discussed elsewhere in this Complaint, Advantech and ANA have

                      overlapping executives (together with overlapping executives at wholly

                      owned Advantech entities, including at least one entity that wholly owns

                      ANA).

               c.     ANA’s operations are entirely in support of its sole owner—Advantech.

                      On information and belief, and as an example, ANA does not sell computer

                      products of competitors to Advantech, nor does it enjoy the freedom to do

                      so.

               d.     Upon information and belief, Advantech Corp. was formed by Advantech

                      to further Advantech’s domestic sales of accused infringing products, and

                      is controlled today by Advantech to ensure that result.

       16. Upon information and belief, following the manufacture of computer servers, modular

computers, and network products by Advantech, these products are then shipped to the United

States to Advantech ANA for delivery to domestic purchasers of the infringing products.

       17. For example, based on public information, on August 10, 2019, Advantech made a

shipment totaling over 16,535 kilograms of hardware to ANA described as consisting of




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“COMPUTER PARTS. . .”17 Upon information and belief, this shipment included infringing

products accused in this Complaint. Advantech has made many other shipments of this sort to

ANA throughout the enforceable life of the Asserted Patents.

                               JURISDICTION AND VENUE
         18. This is an action for patent infringement under the United States patent laws, 35 U.S.C.

§ 101 et seq.

         19. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

         20. This Court has personal jurisdiction over the Defendant consistent with the

requirements of the Due Process Clause of the United States Constitution and the Texas Long Arm

Statute.

         21. On information and belief, Defendant has purposefully manufactured and/or

distributed computer products that infringe the ACQIS Patents, or that were made abroad using

patented processes claimed in the ACQIS Patents, through established distribution channels with

the expectation that those products would be sold in the United States, State of Texas, and in this

District.

         22. Publicly available import data indicates that Advantech sells and imports servers and

computers into the United States. For example, data from Import Genius indicates that for the

period beginning December 15, 2018 through December 31, 2020, Advantech acted as supplier

for at least 220 shipments imported into the United States totaling over 1.1 million kilograms, or

over 2 million pounds. Defendant has acted as supplier for 379 shipments imported into the United

States in the past five years, totaling over 2.3 million kilograms, or over 5.1 million pounds.18 A




17
     U.S. Import Bill of Lading No. DFDSTPE0214456.
18
     U.S. Import Records, available from Import Genius.

                                                  7
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majority of those shipments were sent to ANA, totaling over 2.2 million kilograms (4.8 million

pounds).

         23. Publicly available import data indicates that Defendant has sold imported products to

purchasers in this judicial district.

         24. Upon information and belief, some of these imports relate to accused products. For

example, based on public information, on March 25, 2020, Advantech imported a shipping

container denoted as carrying “COMPUTER PARTS” and weighing over 770 kilograms (1,697

pounds) to a consignee based in El Paso, Texas.19 Upon information and belief, this shipment

included infringing products accused in this Complaint.

         25. Further, Defendant has (itself and/or through the activities of subsidiaries, affiliates, or

intermediaries acting as an alter ego or agent of Defendant) committed acts of patent infringement

in the United States, State of Texas and this District, including by importing infringing computer

products and/or computer products made abroad using ACQIS’s patented processes into the

United States for sale in the State of Texas and this District.

         26. Defendant Advantech is the parent corporation for a production and distribution chain

(together with other Advantech subsidiaries, affiliates, and intermediaries) with respect to the

manufacture, use, offering to sell, and/or sale of infringing computer products and with respect to

the importation into the United States of infringing computer products and of computer products

made abroad using patented processes claimed in the ACQIS Patents.

         27. Accordingly, Defendant has established minimum contacts within Texas and

purposefully availed itself of the benefits of Texas, and the exercise of personal jurisdiction over

Advantech would not offend traditional notions of fair play and substantial justice. In addition, or



19
     U.S. Import Bills of Lading No. DMALTPEA65410.

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in the alternative, this Court has personal jurisdiction over Advantech pursuant to Federal Rule of

Civil Procedure 4(k)(2). See, e.g., ACQIS LLC v. Lenovo Group Ltd. et al., 572 F. Supp. 3d 291,

302-307 (W.D. Tex. Nov. 16, 2021) (denying motion to dismiss for lack of personal jurisdiction

as to served defendants).

         28. Venue is proper in this District pursuant to 28 U.S.C. § 1391(c)(3) because Defendant

does not reside in the United States and thus may be sued in any judicial district in the United

States pursuant to 28 U.S.C. § 1391(c)(3).

         29. Venue is also appropriate because the patents asserted in this case have been previously

asserted in cases before this Court. See, e.g., ACQIS, LLC v. Quanta Computer, Inc., 6:2023-cv-

265. Certain of these patents will be the subject of a trial scheduled to be held in this District in

March 2024. ACQIS, LLC v. Asus, No. 6:2020-cv-966. It would serve the interests of judicial

efficiency for this case to be litigated in this District. See ACQIS LLC v. MiTac Computing Tech.

Corp., No. W-20-cv-00962-ADA, 2021 U.S. Dist. LEXIS 197938, 2021 WL 4805431 (W.D. Tex.,

Oct. 14, 2021) (describing four pending cases and denying motion to transfer venue).

                                FACTUAL BACKGROUND
         Dr. Chu and the ACQIS Patents

         30. Dr. William Chu has been a prolific innovator in the computing industry since the

1970s.

         31. In 1976, Dr. Chu received his Ph.D. in Electrical Engineering from the University of

California, Berkeley. Dr. Chu then began working in semiconductor design for American

Microsystems, Inc. from 1976 to 1977, and then for Zilog, Inc. from 1977 to 1982.

         32. In 1982, Dr. Chu founded Verticom, Inc., which developed innovative technologies

relating to video transmission over telephone lines. Verticom also developed graphics products




                                                  9
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for the PC computer-aided design (CAD) market. Verticom’s success resulted in its stock being

listed on the NASDAQ exchange in 1987. In 1988, Verticom was acquired by Western Digital

Imaging, Inc.

       33. Dr. Chu served as Vice President of Engineering for Western Digital from 1988 to

1991, overseeing a development team in the desktop and portable graphics chip division. In the

course of his work at Western Digital, Dr. Chu in 1988 started the company’s portable graphics

chip business, which became #1 in the portable graphics chip market by 1991. Dr. Chu also led

Western Digital to achieve the #1 market share in the PC graphics market in 1990.

       34. After Western Digital, Dr. Chu worked for Acumos, Inc. from 1991 to 1992 as a Vice

President managing engineering for computer graphics chip development. Acumos was acquired

by Cirrus Logic, Inc. in 1992.

       35. Dr. Chu then worked for Cirrus Logic from 1992 to 1997, first as a General Manager

in the Desktop Graphics Division and later as Co-President of the Graphics Chip Business Unit.

During Dr. Chu’s time at Cirrus Logic, the company achieved #1 market share in the PC graphics

chip market.

       36. In 1998, Dr. Chu founded ACQIS Technology, Inc. to pursue his vision of developing

a small, portable computer module that could be interchangeably connected with a variety of

different peripheral consoles. In the course of this development effort, Dr. Chu recognized the

need for a better interconnection between the core computing module and a peripheral console.

Such interconnections traditionally conveyed peripheral component interconnect (PCI) bus

transactions in parallel using a large number of signal channels and connector pins. This made it

difficult to employ LVDS channels, which are more “cable friendly,” consume less power, and

generate less noise. Dr. Chu wanted to develop an interconnection system that was scalable, used




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connectors with low pin counts, was power-efficient, high performing, and easily extendible for

future computing needs and technologies. This development work resulted in a large family of

patents now owned by ACQIS, which disclose and claim a variety of pioneering inventions

relating to improved, high-performance and low-power consuming interconnection technologies

for computer modules.

       37. After several decades in the industry, Dr. Chu is now a named inventor of over forty

U.S. Patents.

       38. Among the patent portfolio covering Dr. Chu’s inventions and owned by ACQIS are

the ACQIS Patents asserted in this case.

       39. The ’750 patent, entitled “Computer System Including CPU or Peripheral Bridge

Directly Connected to a Low Voltage Differential Signal Channel that Communicates Serial Bits

of a Peripheral Component Interconnect Bus Transaction in Opposite Directions,” was duly and

legally issued on July 11, 2017, from a patent application filed October 9, 2014, with William

W.Y. Chu as the sole named inventor. The ’750 patent claims priority to U.S. Provisional Patent

Application No. 60/134,122, filed on May 14, 1999. The entire right, title and interest to the ‘750

Patent has been assigned to ACQIS, including the right to enforce the ‘750 patent and obtain legal

and equitable relief for infringement.

       40. The ’797 patent, entitled “Method of Improving Peripheral Component Interface

Communications Utilizing a Low Voltage Differential Signal Channel,” was duly and legally

issued on March 10, 2015, from a patent application filed October 10, 2012, with William W.Y.

Chu as the sole named inventor. The ’797 patent claims priority to U.S. Provisional Patent

Application No. 60/134,122, filed on May 14, 1999. The entire right, title and interest to the ‘797




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Patent has been assigned to ACQIS, including the right to enforce the ‘797 patent and obtain legal

and equitable relief for infringement.

       41. The ’769 patent, entitled “Computer System Including CPU or Peripheral Bridge

Directly Connected to a Low Voltage Differential Signal Channel that Communicates Serial Bits

of a Peripheral Component Interconnect Bus Transaction In Opposite Directions,” was duly and

legally issued on December 27, 2016, from a patent application filed February 26, 2016, with

William W.Y. Chu as the sole named inventor. The ’769 patent claims priority to U.S. Patent

Application No. 11/097,694, filed on March 31, 2005. The entire right, title and interest to the

‘769 Patent has been assigned to ACQIS, including the right to enforce the ‘769 patent and obtain

legal and equitable relief for infringement.

       42. The ’140 patent, entitled “Data Security Method and Device for Computer Modules,”

was duly and legally issued on September 16, 2014, from a reissue application filed December 17,

2013, with William W.Y. Chu as the sole named inventor. The ’140 patent is a reissue of U.S.

Patent No. 6,643,777, which issued on November 4, 2003, from a patent application filed May 14,

1999. The ’140 patent claims priority to U.S. Patent Application No. 09/312,199, filed on May 14,

1999. The entire right, title and interest to the ‘140 Patent has been assigned to ACQIS, including

the right to enforce the ‘140 patent and obtain legal and equitable relief for infringement.

       43. The ’654 patent, entitled “Data Security Method and Device for Computer Modules,”

was duly and legally issued on December 17, 2013, from a reissue application filed October 10,

2012, with William W.Y. Chu as the sole named inventor. The ’654 patent is a reissue of U.S.

Patent No. 6,643,777, which issued on November 4, 2003, from a patent application filed May 14,

1999. The ’654 patent claims priority to U.S. Patent Application No. 09/312,199, filed on May 14,

1999. The entire right, title and interest to the ‘654 Patent has been assigned to ACQIS, including




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the right to enforce the ‘654 patent and obtain legal and equitable relief for infringement.

        44. The inventions claimed in the ACQIS Patents enable computers to operate faster with

better efficiency through faster interconnections including between the core computing power

modules and any connected consoles.

        45. The claims in the ACQIS Patents generally relate to computers and computer systems

that employ CPUs coupled to LVDS channels that convey various types of data (e.g., PCI bus

transactions, USB 3.x data, and/or digital video data) in a serial bit stream using pairs of

unidirectional channels to convey the data in opposite directions.

        46. Over the years, Dr. Chu’s inventive developments have become more and more widely

used in computing technologies. One prime example is the computing industry’s adoption of PCI

Express, which post-dates Dr. Chu’s inventions but embodies Dr. Chu’s patented interconnection

invention by using “high speed, low voltage, differential serial pathway for two devices … to

communicate simultaneously by implementing dual unidirectional paths between two devices[.]”




See Introduction to PCI Express – A Hardware and Software Developers Guide, Intel Press (2003),

at 1-2 (“There are certain times in the evolution of technology that serve as inflection points that

forever change the course of events. For the computing sector and communications, the adoption

of PCI Express, a groundbreaking new general input/output architecture, will serve as one of these

inflection points.”).




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       47. PCI Express connections transmit data packets known as transaction layer packets

(TLP) that include data bits, address bits, and byte enable (BE) information bits.




Id. at 93-114.

       48. PCI Express “establishes a unique divergence from historical PCI evolutions through

a layered architecture improving serviceability and scalability as well as easing software

transitions through backward compatibility.”20 The compatibility of PCI Express with PCI can be

further explained as follows: “PCI Express employs the same usage model and load-store

communication model as PCI and PCI-X. It supports familiar transactions such as memory

read/write, IO read/write and configuration read/write transactions. The memory, IO, and

configuration address space model is the same as PCI and PCI-X address spaces. By maintaining

the address space model, existing OS and driver software will run in a PCI Express system without

any modifications. In other words, PCI Express is software backward compatible with PCI and

PCI-X systems. In fact a PCI Express system will boot an existing OS with no changes to current

drivers and application programs. Even PCI/ACPI power management software will still run.”21

       49. In sum, PCI Express connections are LVDS channels that convey data bits, address

bits, and byte enable information bits of a PCI bus transaction in a serial bit stream using pairs of



20
   Adam H. Wilen, Justin P. Schade, Ron Thornburg. INTRODUCTION TO PCI EXPRESS - A
HARDWARE AND SOFTWARE DEVELOPER’S GUIDE, Intel Press, 2003, pages 51-52.
21
   Ravi Budruk, et al., PCI EXPRESS SYSTEM ARCHITECTURE, 400, (MindShare Inc., 2004) at 11.

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unidirectional, differential signal lanes to convey the information in opposite directions allowing

the connection to be scalable and dramatically reducing the pin-count required for connectors, as

well as other benefits. “Currently PCI Express defines the following configuration of serial links:

x1, x2, x4, x8, x12, x16, and x32. … An x2 configuration indicates two serial paths to and from a

device[.]”




Id. at 3, 50.

        50. Another example of a computer-to-peripheral interconnection that embodies Dr. Chu’s

patented invention is the USB 3.x connection. The “Super Speed” USB 3.0 architecture uses at

least two pairs of unidirectional, point-to-point differential signal paths. Each pair includes a

transmit path and a receiving path, thus transmitting the USB data packet information in opposite

directions.




                                                15
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Universal Serial Bus 3.0 Specification, Rev. 1.0 (Nov. 12, 2008), at 3.1 to 3.5. USB 3.x ports

operate in conformance with all USB protocols, including USB 2.0 protocols and USB 3.0 or

later protocols, which are backward compatible with the USB 2.0 protocol. In sum, USB 3.x

connections are LVDS channels using two unidirectional, differential signal pairs that transmit

USB protocol data packets in opposite directions.

       51. The Direct Media Interface (“DMI”) is similar to PCIe and implements at least four

serial lanes that all use differential signaling constituting 2 transmit lanes and 2 receive lanes and,

therefore,         transmitting          data        in        opposite        directions.         See

https://www.intel.com/content/dam/www/public/us/en/documents/white-papers/ia-introduction-

basics-paper.pdf; see also https://en.wikipedia.org/wiki/Direct_Media_Interface (“DMI shares

many characteristics with PCI Express, using multiple lanes and differential signaling to form a

point-to-point link.”).

       52. The On-Package Interface (OPI) is like DMI but is used when a CPU and system

controller   are    integrated    into     a    single    system-on-a-chip   (“SoC”).     See,    e.g.,

https://web.archive.org/web/20170106002415/https://www.anandtech.com/show/10959/intel-

launches-7th-generation-kaby-lake-i7-7700k-i5-7600k-i3-7350k/5.




                                                   16
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       53. Additional interfaces that employ LVDS channels include, but are not limited to,

DisplayPort22, Embedded DisplayPort (“eDP”)23, Serial‐Attached SCSI (“SAS”)24, and Serial

ATA or Serial AT Attachment (“SATA”)25.

       54. The physical layer of PCI Express includes PLL circuitry. See PCI Express Base

Specification Revision 3.0, Section 1.5.3, page 49 (physical Layer “includes all circuitry for

interface operation, including driver and input buffers, parallel-to-serial and serial-to-parallel

conversion, PLL(s), impedance matching circuitry” as well as “logical functions related to

interface initialization and maintenance”). The figure below also shows the use of PLL circuitry:




22
   Tektonix, THE BASICS OF SERIAL DATA COMPLIANCE AND VALIDATION MEASUREMENTS –
PRIMER, page 9.
23
   eDP is a display panel interface standard that defines the signaling interface between
CPUs/GPUs and integrated displays. It is based on the existing DisplayPort standard. Essentially,
it is an embedded version of the DisplayPort standard oriented toward applications, such as
notebooks and All-In-One PCs. Like DisplayPort, it consists of the Main Link, Auxiliary
channel, and an optional Hot-Plug Detect signal. See
https://edc.intel.com/content/www/us/en/design/ipla/software-development-
platforms/client/platforms/alder-lake-desktop/12th-generation-intel-core-processors-datasheet-
volume-1-of-2/003/embedded-displayport-edp/.
24
   HP. Serial ATA and Serial Attached SCSI technologies. TECHNOLOGY BRIEF, 2003, page 5.
Available at http://h10032.www1.hp.com/ctg/Manual/c00256909.pdf.
25
   HP. Serial ATA and Serial Attached SCSI technologies. TECHNOLOGY BRIEF, 2003, page 5.
Available at http://h10032.www1.hp.com/ctg/Manual/c00256909.pdf; Tektonix, THE BASICS OF
SERIAL DATA COMPLIANCE AND VALIDATION MEASUREMENTS – PRIMER, page 9.

                                               17
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Ravi Budruk, et al., PCI EXPRESS SYSTEM ARCHITECTURE, 454, (MindShare Inc., 2004), page 401.

       55. Each claim of the ACQIS Patents is a patentable, valid and enforceable invention that

is novel and non-obvious over the prior art.

       56. ACQIS has not authorized or licensed Advantech to practice any of the inventions

claimed in the ACQIS Patents.

       Advantech’s Infringing Products

       57. Advantech is a global leader in the personal and business computer market. Advantech

makes and sells a variety of computer servers, modular computers, and network products.

Advantech imports a variety of infringing computer servers, modular computers, and network

products, as well as industrial computers into the United States and into this judicial District,




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through established distribution channels with the expectation that those products would be sold

in the United States, State of Texas and this District.

       58. On information and belief, Advantech’s sale of computers, servers, and network

products generates hundreds of millions of dollars in revenue every year. According to

Advantech’s website, total revenue for products sold in the United States in 2022 was

21,094,389,000 New Taiwanese dollars.26




       59. Advantech identifies itself as the world’s leading industrial computer factory,

accounting for 41% of the global market.27

       60. According to its 2022 Annual Report, Advantech listed its three main markets are

China, Europe, and the United States.28



26
   Advantech website, https://esg.advantech.com/en-us/operation-and-governance/corporate-
operations-and-governance; roughly $675M USD.
27
   Advantech 2022 Annual Report at 95.
28
   Advantech 2022 Annual Report at 91.

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         61.   Defendant has directly infringed one or more claims of each of the ACQIS Patents

 under at least 35 U.S.C. §§ 271 (g), by importing into the United States computer products that

 were made abroad using patented processes claimed in the ACQIS Patents.

         62.   This includes, without limitation, PC, server and networking hardware

 manufactured abroad and imported during the enforceable life of the Asserted Patents and

 which contain CPUs connected to PCIe and USB 3.x channels. Plaintiff identifies Advantech’s

 server, switching, gateway, network interface, network appliance, SD-WAN, and private cloud

 hardware products as representative product groups with products having these claim

 limitations. These products are collectively referred to herein as the “Accused Servers.”

         63.   This further includes, without limitation, application-specific computers

 manufactured abroad and imported during the enforceable life of the Asserted Patents and

 which contain CPUs connected to PCIe and USB 3.x channels. Plaintiff identifies Advantech’s

 Embedded PC; Single Board Computer; Computer-on-Module; digital signage player; gaming

 platform; EDGE Controller; Data Acquisition; automation controller; panel PC; Power

 Substation PC; IPC; motherboard; backplane; medical terminals, AiOs and PC products as

 computer hardware products having these claim limitations. These products are collectively

 referred to as the “Accused PCs.”

       64. The Accused Servers and Accused PCs collectively referred to herein as the “Accused

Products” or “Accused Advantech Products.”

       65. On information and belief, Advantech manufactures (or secures manufacture) of at

least the Accused Advantech Products abroad and imports those products (directly or through an

alter ego or agent subsidiary) and subsequently uses, offers to sell, and/or sells such products in

the United States.




                                                20
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          66. The Accused Advantech Products include products imported into the United States at

least since ACQIS provided Advantech notice of its infringement on or around April 30, 2013.

          The Accused Servers

          67. On information and belief, all of the Accused Servers are configured and operate in

substantially the same way as explained below. Advantech sells computer hardware like the ATX

motherboard product below which is advertised as being installed and usable when paired with,

for example Advantech’s 1U Rackmount Chassis. Other Accused Server products are advertised

as    a      motherboard      integrated    into        the   rackmount   chassis.   See,   e.g.,

https://buysea.advantech.com/resource/ProductResource/SAP/4d5c2aca-5f77-4519-ac79-

eb84f502f549.pdf?utm_source=eStore.

          68. The ACP-1010 is a 1U Rackmount Chassis that supports ATX and MicroATX

motherboards, such as the AIMB-585.




https://advdownload.advantech.com/productfile/PIS/ACP-1010/file/ACP-

1010_DS(091522)20220915153138.pdf?_gl=1*rocmsw*_ga*ODA1NjcxNTExLjE3MDE4OTI5

NTU.*_ga_CFPK80LF7Y*MTcwMjMzNTI0OS4xNS4xLjE3MDIzMzUyODcuMjIuMC4w




                                                   21
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       https://web.archive.org/web/20180312134135/http://www.advantech.com/products/1-

2jkkgc/aimb-585/mod_166a4ae9-4422-4aba-b91a-85c6beaf152c

       69. The AIMB-585 uses an Intel® Core processor, such as Intel® Xeon®/ 6th Gen Core™

i7/i5/i3 processor with a Q170/C236/ H110 chipset which are mounted the motherboard.




https://advdownload.advantech.com/productfile/PIS/AIMB-585/file/AIMB-

585_DS(050923)20230509161017.pdf?_gl=1*4bcfaf*_ga*ODA1NjcxNTExLjE3MDE4OTI5N

TU.*_ga_CFPK80LF7Y*MTcwMjAzMTM4NS45LjEuMTcwMjAzMTUxOS41My4wLjA.

       70. The 6th Generation Intel® Core™ i5processors (diagram of integration of this

processor into the AIMB-585 featured below) integrate the central processing unit (CPU) with a


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graphics subsystem and an interface controller on a single chip. The Intel Core processors

integrate one or more interface controllers to manage and drive, for example, the DMI,29 PCIe and

SATA channels connected to the processor. Because the Intel chip of this product directly outputs

video signals, it contains an integrated graphics controller.




       https://advdownload.advantech.com/productfile/PIS/AIMB-585/file/AIMB-

585_DS(050923)20230509161017.pdf?_gl=1*4bcfaf*_ga*ODA1NjcxNTExLjE3MDE4OTI5N

TU.*_ga_CFPK80LF7Y*MTcwMjAzMTM4NS45LjEuMTcwMjAzMTUxOS41My4wLjA



29
   DMI is a lightly modified form of PCIe, and its differences from PCIe are immaterial to the
allegations of this complaint.

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       71. When paired with, say, an ACP-1010 is a 1U Rackmount Chassis, the AIMB-585

comprises a chassis or enclosure which houses one or more connectors that can couple to

components of other computer systems and consoles, including the USB 3.0 ports and optional

HDMI, DVI, and DisplayPort ports. On information and belief, Advantech or its manufacturers

install the AIMB-585 into an ACP-1010 or similar standardized enclosures as part of the

manufacturing process.




https://advdownload.advantech.com/productfile/PIS/AIMB-585/file/AIMB-

585_DS(050923)20230509161017.pdf?_gl=1*4bcfaf*_ga*ODA1NjcxNTExLjE3MDE4OT

I5NTU.*_ga_CFPK80LF7Y*MTcwMjAzMTM4NS45LjEuMTcwMjAzMTUxOS41My4w

LjA



                                            24
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https://advdownload.advantech.com/productfile/PIS/AIMB-585/file/AIMB-

585_DS(050923)20230509161017.pdf?_gl=1*4bcfaf*_ga*ODA1NjcxNTExLjE3MDE4OTI5N

TU.*_ga_CFPK80LF7Y*MTcwMjAzMTM4NS45LjEuMTcwMjAzMTUxOS41My4wLjA

       72. The Intel processors employed in the AIMB-585 connect directly to a variety of LVDS

channels that convey data bits in a serial stream using unidirectional pairs of lanes transmitting

data in opposite directions, including DisplayPort, DMI and PCIe channels.




                                               25
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       https://advdownload.advantech.com/productfile/PIS/AIMB-585/file/AIMB-

585_DS(050923)20230509161017.pdf?_gl=1*4bcfaf*_ga*ODA1NjcxNTExLjE3MDE4OTI5N

TU.*_ga_CFPK80LF7Y*MTcwMjAzMTM4NS45LjEuMTcwMjAzMTUxOS41My4wLjA

       73. The Intel processors employed in the AIMB-585 also connect directly to a variety of

differential signal channels that output digital video signals through a connector, including HDMI,

DVI, and DisplayPort ports of this product.




                                                26
        Case 6:23-cv-00882-ADA Document 1 Filed 12/22/23 Page 27 of 59




https://advdownload.advantech.com/productfile/PIS/AIMB-585/file/AIMB-

585_DS(050923)20230509161017.pdf?_gl=1*4bcfaf*_ga*ODA1NjcxNTExLjE3MDE4OTI5N

TU.*_ga_CFPK80LF7Y*MTcwMjAzMTM4NS45LjEuMTcwMjAzMTUxOS41My4wLjA



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       74. The AIMB-585 also connects LVDS channels that convey USB data packets through

pairs of unidirectional differential signal paths in opposite directions—USB 3.x ports.




https://advdownload.advantech.com/productfile/PIS/AIMB-585/file/AIMB-

585_DS(050923)20230509161017.pdf?_gl=1*4bcfaf*_ga*ODA1NjcxNTExLjE3MDE4OTI5N

TU.*_ga_CFPK80LF7Y*MTcwMjAzMTM4NS45LjEuMTcwMjAzMTUxOS41My4wLjA

       75. The AIMB-585 has DDR4 system memory connected directly to the CPU.




https://advdownload.advantech.com/productfile/PIS/AIMB-585/file/AIMB-

585_DS(050923)20230509161017.pdf?_gl=1*4bcfaf*_ga*ODA1NjcxNTExLjE3MDE4OTI5N



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TU.*_ga_CFPK80LF7Y*MTcwMjAzMTM4NS45LjEuMTcwMjAzMTUxOS41My4wLjA

The AIMB-585 has or may be configured with a mass storage HDD or SSD coupled to the CPU

using PCIe or SATA, both of which constitute LVDS channels with multiple lanes.




https://advdownload.advantech.com/productfile/PIS/AIMB-585/file/AIMB-

585_DS(050923)20230509161017.pdf?_gl=1*4bcfaf*_ga*ODA1NjcxNTExLjE3MDE4OTI5N

TU.*_ga_CFPK80LF7Y*MTcwMjAzMTM4NS45LjEuMTcwMjAzMTUxOS41My4wLjA

       76. The AIMB-585 is connected to an Intel C236 chipset which is a peripheral bridge

connected to the CPU module using Intel’s DMI channels. Because the C236 is coupled to PCIe,

USB 3.x, and other interface connections, they necessarily have integrated interface controllers to

control data transmission through those interfaces.



                                                29
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https://advdownload.advantech.com/productfile/PIS/AIMB-585/file/AIMB-

585_DS(050923)20230509161017.pdf?_gl=1*4bcfaf*_ga*ODA1NjcxNTExLjE3MDE4OTI5N

TU.*_ga_CFPK80LF7Y*MTcwMjAzMTM4NS45LjEuMTcwMjAzMTUxOS41My4wLjA

       77. On information and belief, Advantech or another party performs the foregoing

manufacturing steps (e.g., connecting components to each other on a motherboard via LVDS

channels) outside the United States to make at least certain of the Accused Servers, and Advantech

then imports those Accused Servers into the United States to be marketed and sold.




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       The Accused PCs

       78. On information and belief, all of the Accused PCs are configured and operate in

substantially the same way as explained below using the MIO-2360 as an example for illustrative

purposes.30

       79. The MIO-2360 is an embedded single board computer.




https://web.archive.org/web/20161031135315/http://www.advantech.com/products/25%E2%80

%9D-pico-itx-(mi-o-ultra)-single-board-computers/sub_mi%7B%7B--

o_ultra_single_board_computers;     https://www.advantech.com/en-us/products/460a67de-a7c8-

94dc-0809-336fd7570e46/mio-2360/mod_911536a9-00ba-4e53-afb4-d698b2eedd12




30
  As explained with regard to the Accused Server products, it is understood on information and
belief that Accused PC products, even when advertised as a single-board computer, are
ordinarily installed in enclosures with power sources as part of Advantech’s manufacturing and
configuration process.

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       80. The MIO-2360 uses an Intel® processor, such as a 2.4GHz dual‑core Intel® Celeron®

N3550 processor, which is mounted on a motherboard.




https://advdownload.advantech.com/productfile/PIS/MIO-2360/file/MIO-

2360_DS(111623)20231116150907.pdf?_gl=1*ud2zdt*_ga*ODY5NTI0MTU0LjE3MDI1MD

M1NjE.*_ga_CFPK80LF7Y*MTcwMjUwODk2MC4xLjEuMTcwMjUwOTAwNC4xNi4wLjA

       81. The Intel® Celeron® processors integrate the central processing unit (CPU) with a

graphics subsystem and an interface controller on a single chip. This may be seen below by at


                                             32
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least the processor’s direct output of video signals. As discussed supra, Intel’s DDI output

interface is used when a processor has integrated graphics, and may be configured to output, inter

alia, HDMI video signal data.




https://advdownload.advantech.com/productfile/PIS/MIO-2360/file/MIO-

2360_DS(111623)20231116150907.pdf?_gl=1*ud2zdt*_ga*ODY5NTI0MTU0LjE3MDI1MD

M1NjE.*_ga_CFPK80LF7Y*MTcwMjUwODk2MC4xLjEuMTcwMjUwOTAwNC4xNi4wLjA

       82. The Intel Celeron processors integrate one or more integrated interface controllers,

such as to drive the signal outputs of the processor, including PCIe, SATA, and USB 3.x channels

connected to the processor.




                                               33
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       83. The Intel processors employed in the MIO-2360 connect directly to a variety of LVDS

channels that convey data bits in a serial stream using unidirectional pairs of lanes transmitting

data in opposite directions, including PCIe, eDP, SATA, and USB 3.x channels, and the directly-

connected PCIe or SATA channels connect the CPU to a mass storage device.




https://advdownload.advantech.com/productfile/PIS/MIO-2360/file/MIO-

2360_DS(111623)20231116150907.pdf?_gl=1*ud2zdt*_ga*ODY5NTI0MTU0LjE3MDI1MD

M1NjE.*_ga_CFPK80LF7Y*MTcwMjUwODk2MC4xLjEuMTcwMjUwOTAwNC4xNi4wLjA

       84. The Intel processors employed in the MIO-2360 also connect directly to differential

signal channels that output digital video signals through a connector, including at least HDMI.




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https://advdownload.advantech.com/productfile/PIS/MIO-2360/file/MIO-

2360_DS(111623)20231116150907.pdf?_gl=1*ud2zdt*_ga*ODY5NTI0MTU0LjE3MDI1MD

M1NjE.*_ga_CFPK80LF7Y*MTcwMjUwODk2MC4xLjEuMTcwMjUwOTAwNC4xNi4wLjA

       85. The Intel processors employed in the MIO-2360 also connect to LVDS channels that

convey USB data packets through pairs of unidirectional differential signal paths in opposite

directions—USB 3.x ports.




                                             35
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https://advdownload.advantech.com/productfile/PIS/MIO-2360/file/MIO-

2360_DS(111623)20231116150907.pdf?_gl=1*ud2zdt*_ga*ODY5NTI0MTU0LjE3MDI1MD

M1NjE.*_ga_CFPK80LF7Y*MTcwMjUwODk2MC4xLjEuMTcwMjUwOTAwNC4xNi4wLjA

      86. The MIO-2360 has DDR4 system memory connected directly to the CPU.




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https://advdownload.advantech.com/productfile/PIS/MIO-2360/file/MIO-

2360_DS(111623)20231116150907.pdf?_gl=1*ud2zdt*_ga*ODY5NTI0MTU0LjE3MDI1MD

M1NjE.*_ga_CFPK80LF7Y*MTcwMjUwODk2MC4xLjEuMTcwMjUwOTAwNC4xNi4wLjA

       87. The MIO-2360 is configured with mass storage HDD or SSD coupled to the CPU

and/or clots/connectors to couple to HDDs and SSDs.




https://advdownload.advantech.com/productfile/PIS/MIO-2360/file/MIO-

2360_DS(111623)20231116150907.pdf?_gl=1*ud2zdt*_ga*ODY5NTI0MTU0LjE3MDI1MD

M1NjE.*_ga_CFPK80LF7Y*MTcwMjUwODk2MC4xLjEuMTcwMjUwOTAwNC4xNi4wLjA


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       88. The Intel processors used in the MIO-2360 have an integrated chipset which is a

peripheral bridge. Because the peripheral bridge is coupled to PCIe, USB 3.x, and other interface

connections, they necessarily have integrated interface controllers to control data transmission

through those interfaces.




https://advdownload.advantech.com/productfile/PIS/MIO-2360/file/MIO-

2360_DS(111623)20231116150907.pdf?_gl=1*ud2zdt*_ga*ODY5NTI0MTU0LjE3MDI1MD

M1NjE.*_ga_CFPK80LF7Y*MTcwMjUwODk2MC4xLjEuMTcwMjUwOTAwNC4xNi4wLjA

       89. On information and belief, Advantech or another party performs the foregoing

manufacturing steps (e.g., connecting CPUs and other components to one another via recited

LVDS channels) outside the United States to make at least certain of the Accused PCs, and

Advantech then imports those Accused PCs into the United States to be marketed and sold.

       ACQIS Provided Advantech Notice of its Infringement

       90. On or around April 30, 2013, ACQIS notified Advantech, pursuant to 35 U.S.C. §

287(a), of certain of ACQIS’s patents and Advantech’s likely infringement thereof based on the

Accused Advantech Products. While this notice letter explicitly named other of ACQIS’ patents

than those asserted in this action, this notice letter warned Advantech that its patent portfolio was

growing and that ACQIS “expect[s] our success to continue with other patents and applications

being prosecuted or reexamined within the patent office.” At least the ’797 patent application was

then being prosecuted (and the application had published), so Advantech was placed on notice of

these nascent patent rights as of this date. The notice letter described the applicability of the


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ACQIS Patents at least to Advantech’s IPC and Rackmount server, X86-based Network

Application Platforms, single board computer, ATCA, MicroTCA, and Compact PCI products.

ACQIS also described the enforcement history of ACQIS’s patent portfolio, and specifically noted

a prior lawsuit enforcing ACQIS Patents related to the presently-asserted ACQIS Patents, which

resulted in a significant jury verdict against IBM.

        91. ACQIS invited Advantech to discuss potential licensing arrangements to allow

Advantech to continue to utilize the patented technologies in the ACQIS patent portfolio,

including the ACQIS Patents.

        92. Advantech did not make a meaningful response to ACQIS’s April 30, 2013 letter and

continued to make, import, and sell the Accused Advantech Products identified in ACQIS’s letter

in willful violation of ACQIS’ patent rights, or at the very least in reckless disregard of ACQIS’

patent rights.

        93. Upon receiving actual notice of the ACQIS Patents and how they apply to Advantech’s

computer products, Advantech at the very least ignored the notice and chose to remain willfully

blind to its own infringement and ACQIS patent applications in reexamination and prosecution.

        94. Advantech’s choice to ignore ACQIS, the ACQIS Patents, and ACQIS’ offer to engage

in a licensing arrangement, and instead to continue making and selling the infringing Accused

Advantech Products, is egregious and exceptional.

        95. Advantech’s conduct constitutes willful infringement of the ACQIS Patent rights in at

least the ’797 patent (see, e.g., 35 U.S.C. § 154(d)(1)), beginning at least as early as April 30,

2013.




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                                COUNT I
                  INFRINGEMENT OF U.S. PATENT NO. 9,703,750

       96. ACQIS incorporates by this reference the allegations set forth every preceding

paragraph of this Complaint in support of its first cause of action as though fully set forth herein.

       97. Pursuant to 35 U.S.C. § 282, the claims of the ’750 patent are presumed valid.

       98. In view of the foregoing facts and allegations, Advantech has directly infringed one or

more claims of the ’750 patent in violation of 35 U.S.C. § 271(g) by importing into the United

States the Accused Advantech Products that were manufactured abroad by one or more of the

methods claimed in the ’750 patent.

       99. The Accused Advantech Products are not trivial or nonessential components of other

products and are not materially changed by subsequent processes.

       100.      Advantech’s infringement of the ’750 patent through its importation offers to sell,

and/or sales in the United States of the Accused Servers is shown by way of the exemplary AIMB-

585 as set forth in paragraphs 67-77 above, which demonstrates infringement of at least claim 50

of the ’750 patent by showing:

        (a) the AIMB-585 is a computer;

        (b) the AIMB-585 has an integrated central processing unit (CPU) and graphics controller

            in a single chip, because the Advantech XX uses a 6th Generation Intel® Core

              Processor, which includes integrated graphics as a single chip; Advantech installs this

            chip into the motherboard of this product during manufacture;

        (c) Advantech or another party connects a first unidirectional, differential signal pair

            channel directly to the integrated CPU and graphics controller to output digital video

            data—this includes at least the DDI channels discussed supra;




                                                  40
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        (d) Advantech or another party provides a connector for external peripheral data

            communication of the computer—this includes various of the ports of the AIMB-585

            identified supra;

        (e) Advantech provides a Low Voltage Differential Signal (LVDS) channel to convey

            Universal Serial Bus (USB) protocol through the connector, the first LVDS channel

            comprising two unidirectional, serial bit channels that transmit data in opposite

            directions—this includes each of the USB 3.x channels of the Advantech AIMB-585

            identified supra.

       101.    On information and belief, the Accused Servers are in relevant part substantially

similar to the exemplary Advantech AIMB-585, in particular with regard to the manner in which

the Accused Servers include and utilize PCIe and/or USB 3.x functionality. This Section is thus

illustrative of the manner in which Advantech infringes the claims of the ’750 patent as to each of

the Accused Servers.

       102.    ACQIS’ infringement allegations against the Accused Servers are not limited to

claim 50 of the ’750 patent, and additional infringed claims will be identified through infringement

contentions and discovery.

       103.    In view of the foregoing facts and allegations, including paragraphs 78-89 above,

Advantech has directly infringed one or more claims of the ’750 patent in violation of 35 U.S.C.

§ 271 (g) by importing into the United States the Accused Advantech PCs that were manufactured

abroad by one or more of the methods claimed in the ’750 patent.

       104.    The Accused Advantech PCs are not trivial or nonessential components of other

products and are not materially changed by subsequent processes.




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       105.      Advantech’s infringement of the ’750 patent through its importation offers to sell,

and/or sales in the United States of the Accused PCs is shown by way of the exemplary AIMB-

585 as set forth in paragraphs 78-89 above, which demonstrates infringement of at least claim 50

of the ’750 patent by showing:

        (f) the MIO-2360 is a computer;

        (g) the MIO-2360 has an integrated central processing unit (CPU) and graphics controller

              in a single chip, because the MIO-2360 uses an Intel Celeron® N3550 processor,

              which includes integrated graphics as a single chip; Advantech or another party

              installs this chip into the motherboard of this product during manufacture;

        (h) Advantech or another party connects a first unidirectional, differential signal pair

              channel directly to the integrated CPU and graphics controller to output digital video

              data—this includes at least the DDI channels discussed supra;

        (i) Advantech provides a connector for external peripheral data communication of the

              computer—this includes various of the ports of the MIO-2360 identified supra

        (a) Advantech provides a Low Voltage Differential Signal (LVDS) channel to convey

              Universal Serial Bus (USB) protocol through the connector, the first LVDS channel

              comprising two unidirectional, serial bit channels that transmit data in opposite

              directions—this includes each of the USB 3.x channels of the MIO-2360 identified

            supra.

       106.      On information and belief, the Accused PCs are in relevant part substantially

similar to the exemplary MIO-2360, in particular with regard to the manner in which the Accused

PCs include and utilize PCIe and/or USB 3.x functionality. This Section is thus illustrative of the

manner in which Advantech infringes the claims of the ’750 patent as to each of the Accused PCs.




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          107.   ACQIS’ infringement allegations against the Accused PCs are not limited to claim

50 of the ’768 patent, and additional infringed claims will be identified through infringement

contentions and discovery.

          108.   The above-described acts of infringement committed by Advantech have caused

injury and damage to ACQIS and ACQIS’ licensees.

          109.   ACQIS is entitled to recover all damages sustained as a result of Advantech’s

wrongful acts of infringement, but in no event less than a reasonable royalty pursuant to 35 U.S.C.

§ 284.

                                COUNT II
                  INFRINGEMENT OF U.S. PATENT NO. 8,977,797
          110.   ACQIS incorporates by this reference the allegations set forth in all foregoing

paragraphs of this Complaint in support of its second cause of action as though fully set forth

herein.

          111.   Pursuant to 35 U.S.C. § 282, the claims of the ’797 patent are presumed valid.

          112.   In view of the foregoing facts and allegations, Advantech has directly infringed one

or more claims of the ’797 patent in violation of 35 U.S.C. § 271 (g) by importing into the United

States the Accused Advantech Products that were manufactured abroad by one or more of the

methods claimed in the ’797 patent.

          113.   The Accused Advantech Products are not trivial or nonessential components of

other products and are not materially changed by subsequent processes.

          114.   Advantech’s infringement of the ’797 patent through its importation into the United

States of the Accused Servers is shown by way of the exemplary AIMB-585 as set forth in

paragraphs 67-77 above. These paragraphs demonstrate that the AIMB-585 was necessarily

manufactured according to at least claim 36 of the ’797 patent:


                                                  43
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(a) Advantech or another party performs a method of improving data throughput on a

   motherboard when manufacturing the AIMB-585, which comprises a motherboard;

(b) when manufacturing the AIMB-585, Advantech or another party mounts an integrated

   CPU and interface controller as a single chip on the motherboard, because the Intel

   processor employed in the AIMB-585 includes interface controllers (e.g., to

   drive/control DMI/PCIe channels) and the CPU integrated as a single chip;

(c) when manufacturing the AIMB-585, Advantech or another party connects an LVDS

   channel directly to an interface controller integrated with the CPU, which LVDS

   channel uses two unidirectional, serial channels to transmit data in opposite directions

   because the AIMB-585 has PCIe channels and an DMI interface directly connected to

   the interface controller;

(d) when manufacturing the AIMB-585, Advantech or another party increases data

   throughput in the serial channels by providing each channel with multiple differential

   signal line pairs, because the PCIe and DMI channels have multiple pairs of differential

   signal lanes;

(e) when manufacturing the AIMB-585, Advantech or another party configures the

   interface controller to adapt to different numbers of differential signal line pairs to

   convey encoded address and data bits of a PCI bus transaction in serial form, because

   the interface controller integrated with the CPU are configured to convey PCIe data

   signals through PCIe channels having differential signal line pairs; and

(f) when manufacturing the AIMB-585, Advantech or another party couples the

   integrated CPU and interface device to a peripheral device such as (bot not limited

   to) a mass storage device, which is attached to the motherboard through a PCIe or other




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              LVDS channel.

       115.      On information and belief, the Accused Servers are in relevant part substantially

similar to the exemplary AIMB-585, in particular with regard to the manner in which the Accused

Servers include and utilize PCIe and/or USB 3.x functionality. This Section is thus illustrative of

the manner in which Advantech infringes the claims of the ’797 patent as to each of the Accused

Servers.

       116.      ACQIS’ infringement allegations against the Accused Servers are not limited to

claim 36 of the ’797 patent, and additional infringed claims will be identified through infringement

contentions and discovery.

       117.      Advantech’s infringement of the ’797 patent through its importation into the United

States of the Accused PCs is shown by way of the exemplary Advantech MIO-2360 as set forth

in paragraphs 78-89 above. These paragraphs demonstrate that the Advantech MIO-2360 was

necessarily manufactured abroad according to at least claim 36 of the ’797 patent:

           (a) Advantech or another party performs a method of improving data throughput on a

              motherboard when manufacturing the Advantech MIO-2360, which contains a

              motherboard;

           (b) when manufacturing the Advantech MIO-2360, Advantech or another party mounts

              an integrated CPU and interface controller as a single chip on the motherboard,

              because the Intel processor employed in the Advantech MIO-2360 includes interface

              controllers (e.g., to drive/control PCIe channels) and the CPU integrated as a single

              chip;

           (c) when manufacturing the Advantech MIO-2360, Advantech or another party connects

              an LVDS channel directly to an interface controller integrated with the CPU, which




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            LVDS channel uses two unidirectional, serial channels to transmit data in opposite

            directions because the Advantech MIO-2360 has PCIe channels directly connected to

            the interface controller to manage PCIe signals;

        (d) when manufacturing the Advantech MIO-2360, Advantech or another party increases

            data throughput in the serial channels by providing each channel with multiple

            differential signal line pairs, because the PCIe channels have multiple pairs of

            differential signal lanes;

        (e) when manufacturing the Advantech MIO-2360, Advantech or another party

            configures the interface controller to adapt to different numbers of differential signal

            line pairs to convey encoded address and data bits of a PCI bus transaction in serial

            form, because the interface controller integrated with the CPU are configured to

            convey PCIe data signals through PCIe channels having differential signal line pairs;

            and

        (f) when manufacturing the Advantech MIO-2360, Advantech or another party couples

            the integrated CPU and interface device to a peripheral device such as (but not limited

            to) a mass storage device, which is attached to the motherboard through a PCIe or other

            LVDS channels.

       118.    On information and belief, the Accused PCs are in relevant part substantially

similar to the exemplary Advantech MIO-2360, in particular with regard to the manner in which

the Accused PCs include and utilize PCIe and/or USB 3.x functionality. This Section is thus

illustrative of the manner in which Advantech infringes the claims of the ’797 patent as to each of

the Accused PCs.




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       119.    ACQIS’ infringement allegations against the Accused PCs are not limited to claim

36 of the ’797 patent, and additional infringed claims will be identified through infringement

contentions and discovery.

       120.    The above-described acts of infringement committed by Advantech have caused

injury and damage to ACQIS and ACQIS’ licensees.

       121.    ACQIS is entitled to recover all damages sustained as a result of Advantech’s

wrongful and willful acts of infringement, but in no event less than a reasonable royalty pursuant

to 35 U.S.C. § 284.

                              COUNT III
                 INFRINGEMENT OF U.S. PATENT NO. 9,529,769

       122.    ACQIS incorporates by this reference the allegations set forth in all foregoing

paragraphs of this Complaint in support of its third cause of action as though fully set forth herein.

       123.    Pursuant to 35 U.S.C. § 282, the claims of the ’769 patent are presumed valid.

       124.    In view of the foregoing facts and allegations, Advantech has directly infringed one

or more claims of the ’769 patent in violation of 35 U.S.C. § 271 (g) by importing into the United

States the Accused Advantech Products that were manufactured abroad by one or more of the

methods claimed in the ’769 patent.

       125.    The Accused Advantech Products are not trivial or nonessential components of

other products and are not materially changed by subsequent processes.

       126.    Advantech’s infringement of the ’769 patent through its importation into, offers to

sell, or sales in, the United States of the Accused Servers is shown by way of the exemplary

AIMB-585 as set forth in paragraphs 67-77 above. These paragraphs demonstrate that the AIMB-

585 was necessarily manufactured abroad according to at least claim 19 of the ’769 patent:




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        (a) Advantech or another party performs a method of improving external peripheral data

            communication in a computer when manufacturing the AIMB-585;

        (b) when manufacturing the AIMB-585, Advantech or another party obtains an integrated

            CPU and graphics controller as a single chip, because the AIMB-585 uses a 6th

              Generation Intel® Core™ Processor;

        (c) when manufacturing the AIMB-585, Advantech or another party connects a

            unidirectional signal channel directly to the integrated CPU and graphics controller to

            output digital video data, because the 6th Generation Intel® Core™ Processors

              employed in the AIMB-585 directly utilize DDI channels to output DVI, DisplayPort,

            and HDMI from the graphics controller integrated into the CPU;

        (d) when manufacturing the AIMB-585, Advantech or another party provides a connector

            for external peripheral data communication, because the AIMB-585 has a variety of

            connectors for external peripherals, including USB 3.x connectors;

        (e) when manufacturing the AIMB-585, Advantech or another party provides an LVDS

            channel to convey USB protocol data through a connector that uses two unidirectional,

            serial bit channels that transmit data in opposite directions, because the AIMB-585

            has a USB 3.x connectors that convey USB 3.x data; and

        (f) when manufacturing the AIMB-585, Advantech or another party provides a second

            LVDS channel to convey digital video data through a connector, at least because the

            AIMB-585 has DisplayPort and DVI outputs ports to output digital video data signals.

       127.     On information and belief, the Accused Servers are in relevant part substantially

similar to the exemplary AIMB-585, in particular with regard to the manner in which the Accused

Servers include and utilize PCIe and/or USB 3.x functionality. This Section is thus illustrative of




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the manner in which Advantech infringes the claims of the ’769 patent as to each of the Accused

Servers.

       128.      Advantech’s infringement of the ’769 patent through its importation into, offers to

sell, or sales in, the United States of the Accused PCs is shown by way of the exemplary MIO-

2360 as set forth in paragraphs 78-89 above. These paragraphs demonstrate that the MIO-2360

was necessarily manufactured abroad according to at least claim 19 of the ’769 patent:

           (g) Advantech or another party performs a method of improving external peripheral data

              communication in a computer when manufacturing the MIO-2360;

           (h) when manufacturing the MIO-2360, Advantech or another party obtains an integrated

              CPU and graphics controller as a single chip, because the MIO-2360 uses a Celeron

              Processor having integrated graphics;

           (i) when manufacturing the MIO-2360, Advantech or another party connects a

              unidirectional signal channel directly to the integrated CPU and graphics controller to

              output digital video data, at least because the Celeron Processors employed in the

              MIO-2360 directly utilize DDI channels to output HDMI from the graphics controller

              integrated into the CPU;

           (j) when manufacturing the MIO-2360, Advantech or another party provides a connector

              for external peripheral data communication, because the MIO-2360 has a variety of

              connectors for external peripherals, including USB 3.x connectors;

           (k) when manufacturing the MIO-2360, Advantech or another party provides an LVDS

              channel to convey USB protocol data through a connector that uses two unidirectional,

              serial bit channels that transmit data in opposite directions, because the MIO-2360 has

              a USB 3.x connectors that convey USB 3.x data; and




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           (l) when manufacturing the MIO-2360, Advantech or another party provides a second

                 LVDS channel to convey digital video data through a connector, at least because the

                 AIMB-585 has eDP and LVDS video outputs.

          129.      On information and belief, the Accused Servers are in relevant part substantially

similar to the exemplary MIO-2360, in particular with regard to the manner in which the Accused

Servers include and utilize PCIe and/or USB 3.x functionality. This Section is thus illustrative of

the manner in which Advantech infringes the claims of the ’769 patent as to each of the Accused

Servers.

          130.      ACQIS’ infringement allegations against the Accused Servers are not limited to

claim 19 of the ’769 patent, and additional infringed claims will be identified through infringement

contentions and discovery.

          131.      The above-described acts of infringement committed by Advantech have caused

injury and damage to ACQIS and ACQIS’ licensees.

          132.      ACQIS is entitled to recover all damages sustained as a result of Advantech’s

wrongful acts of infringement, but in no event less than a reasonable royalty pursuant to 35 U.S.C.

§ 284.

                                   COUNT IV
                     INFRINGEMENT OF U.S. PATENT NO. RE45,140

          133.      ACQIS incorporates by this reference the allegations set forth in all foregoing

paragraphs of this Complaint in support of its fourth cause of action as though fully set forth

herein.

          134.      Pursuant to 35 U.S.C. § 282, the claims of the ’140 patent are presumed valid.

          135.      In view of the foregoing facts and allegations, Advantech has directly infringed one

or more claims of the ’140 patent in violation of 35 U.S.C. § 271 (g) by importing into the United


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States the Accused Advantech Products that were manufactured abroad by one or more of the

methods claimed in the ’140 patent.

          136.     The Accused Advantech Products are not trivial or nonessential components of

other products and are not materially changed by subsequent processes.

          137.     Advantech’s infringement of the ’140 patent through its importation into, and/or

use, offers to sell, or sales in, the United States of the Accused Servers is shown by way of the

exemplary AIMB-585 as set forth in paragraphs 67-77 above. These paragraphs demonstrate that

the AIMB-585 was necessarily manufactured abroad according to at least claim 35 of the ’140

patent:

          (a) Advantech or another party performs a method of improving performance of a

                 computer when manufacturing the AIMB-585;

          (b) when manufacturing the AIMB-585, Advantech or another party obtains an integrated

             CPU and graphics controller as a single chip, because the AIMB-585 uses a 6th

                 Generation Intel® Core™ Processor;

          (c) when manufacturing the AIMB-585, Advantech or another party connects an LVDS

             channel directly to the integrated CPU and graphics controller that uses two

             unidirectional, serial bit channels to transmit data in opposite directions, because the

             6th Generation Intel® Core™ Processors employed in the AIMB-585 directly

             connect to PCIe and DMI channels;

          (d) when manufacturing the AIMB-585, Advantech or another party connects a

             differential signal channel directly to the integrated CPU and graphics controller to

             output digital video data, because the 9th Generation Intel® Core™ Processors

                 employed in the AIMB-585 connect to DDI and/or PCIe channels connected to




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              discrete graphics;

           (e) when manufacturing the AIMB-585, Advantech or another party provides a connector

              for external peripheral data communication, because the AIMB-585 has a variety of

              connectors for external peripherals; and

           (f) when manufacturing the AIMB-585, Advantech or another party provides a second

              LVDS channel using two unidirectional, serial bit channels to transmit data in opposite

              directions through the connector, because the AIMB-585 has Thunderbolt and USB

              3.x connectors capable of supporting USB3.x and Thunderbolt data signals.

       138.      On information and belief, the Accused Servers are in relevant part substantially

similar to the exemplary AIMB-585, in particular with regard to the manner in which the Accused

Servers include and utilize PCIe and/or USB 3.x functionality. This Section is thus illustrative of

the manner in which Advantech infringes the claims of the ’140 patent as to each of the Accused

Servers.

       139.      ACQIS’ infringement allegations against the Accused Servers are not limited to

claim 35 of the ’140 patent, and additional infringed claims will be identified through infringement

contentions and discovery.

       140.      Advantech’s infringement of the ’140 patent through its importation, offers to sell,

or sales in the United States of the Accused PCs is shown by way of the exemplary Advantech

MIO-2360 as set forth in paragraphs 78-89 above. These paragraphs demonstrate that the MIO-

2360 was necessarily manufactured abroad according to at least claim 35 of the ’140 patent:

           (a) Advantech or another party performs a method of improving performance of a

              computer when manufacturing the MIO-2360;




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        (b) when manufacturing the MIO-2360, Advantech or another party obtains an integrated

              CPU and graphics controller as a single chip, because the MIO-2360 uses a Celeron

              Processor having integrated graphics;

        (c) when manufacturing the MIO-2360, Advantech or another party connects an LVDS

              channel directly to the integrated CPU and graphics controller that uses two

              unidirectional, serial bit channels to transmit data in opposite directions, because the

              Celeron Processors employed in the MIO-2360 directly connect to, for example,

            PCIe channels;

        (d) when manufacturing the MIO-2360, Advantech or another party connects a

              differential signal channel directly to the integrated CPU and graphics controller to

              output digital video data, because (and not by way of limitation) the Celeron

              Processors employed in the MIO-2360 connect to DDI channels to output HDMI

              signals;

        (e) when manufacturing the MIO-2360, Advantech or another party provides a connector

              for external peripheral data communication, because the Advantech MIO-2360 has a

            variety of connectors for external peripherals, including USB 3.x ports; and

        (f) when manufacturing the MIO-2360, Advantech or another party provides a second

              LVDS channel using two unidirectional, serial bit channels to transmit data in opposite

              directions through the connector, because the MIO-2360 has other USB 3.x ports.

       141.      On information and belief, the Accused PCs are in relevant part substantially

similar to the exemplary MIO-2360 in particular with regard to the manner in which the Accused

PCs include and utilize PCIe and/or USB 3.x functionality. This Section is thus illustrative of the

manner in which Advantech infringes the claims of the ’140 patent as to each of the Accused PCs.




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         142.   ACQIS’ infringement allegations against the Accused PCs are not limited to claim

35 of the ’140 patent, and additional infringed claims will be identified through infringement

contentions and discovery.

         143.   The above-described acts of infringement committed by Advantech have caused

injury and damage to ACQIS and ACQIS’ licensees.

         144.   ACQIS is entitled to recover all damages sustained as a result of Advantech’s

wrongful acts of infringement, but in no event less than a reasonable royalty pursuant to 35 U.S.C.

§ 284.

                               COUNT V
                 INFRINGEMENT OF U.S. PATENT NO. RE44,654

         145.   ACQIS incorporates by this reference the allegations set forth all foregoing

paragraphs of this Complaint in support of its fifth cause of action as though fully set forth herein.

         146.   Pursuant to 35 U.S.C. § 282, the claims of the ’654 patent are presumed valid.

         147.   In view of the foregoing facts and allegations, Advantech has directly infringed one

or more claims of the ’654 patent in violation of 35 U.S.C. § 271 (g) by importing Accused

Advantech Products in the United States which were manufactured abroad according to ACQIS’

patented processes.

         148.   The Accused Advantech Products made using the methods claimed in the ’654

patent are not trivial or nonessential components of other products and are not materially changed

by subsequent processes.

         149.   Advantech’s infringement of the ’654 patent through its importation, offers to sell,

or sales in, the United States of the Accused Servers is shown by way of the exemplary AIMB-

585 as set forth in paragraphs 67-77 above. These paragraphs demonstrate that the AIMB-585 was

necessarily manufactured according to at least claim 23 of the ’654 patent:


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        (a) Advantech or another party performs a method of increasing data communication

            speed of a computer when manufacturing the AIMB-585;

        (b) when manufacturing the AIMB-585, Advantech or another party connects a CPU

            directly to a peripheral bridge on a printed circuit board, because the AIMB-585 uses

            an Intel core CPU directly connected to the Intel PCH via a DMI connection;

        (c) when manufacturing the AIMB-585, Advantech or another party connects an LVDS

            channel directly to the peripheral bridge (PCH), which uses two unidirectional, serial

            channels to transmit data in opposite directions, because the AIMB-585 has PCIe

            channels and DMI channels directly connected to the Intel PCH;

        (d) when manufacturing the AIMB-585, Advantech or another party provides a connector

            to connect the computer to a console, because the AIMB-585 has a variety of

            connector ports including USB 3.x and a Thunderbolt port;

        (e) when manufacturing the AIMB-585, Advantech or another party provides a second

            LVDS channel using two unidirectional, serial channels to transmit data in opposite

            directions through the connector to the console, because the AIMB-585 has USB 3.x

            and Thunderbolt ports capable of supporting USB 3.x and Thunderbolt data signals;

            and

        (f) when manufacturing the AIMB-585, Advantech or another party enables the

            transmission of USB protocol data through the second LVDS channel via a

            Thunderbolt and USB 3.x channels and ports.

       150.    On information and belief, the Accused Servers are in relevant part substantially

similar to the exemplary AIMB-585, in particular with regard to the manner in which the Accused

Servers include and utilize PCIe and/or USB 3.x functionality. This Section is thus illustrative of




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the manner in which Advantech infringes the claims of the ’654 patent as to each of the Accused

Servers.

       151.      ACQIS’ infringement allegations against the Accused Servers are not limited to

claim 23 of the ’654 patent, and additional infringed claims will be identified through infringement

contentions and discovery.

       152.      Advantech’s infringement of the ’654 patent through its importation into, and/or

use, offers to sell, or sales in, the United States of the Accused PCs is shown by way of the

exemplary MIO-2360 as set forth in paragraphs 78-89 above. These paragraphs demonstrate that

the MIO-2360 was necessarily manufactured according to at least claim 23 of the ’654 patent:

           (a) Advantech or another party performs a method of increasing data communication

              speed of a computer when manufacturing the MIO-2360;

           (b) when manufacturing the MIO-2360, Advantech or another party connects a CPU

              directly to a peripheral bridge on a printed circuit board, because the MIO-2360 uses

              an Intel Celeron CPU directly connected to an integrated peripheral bridge/chipset;

           (c) when manufacturing the MIO-2360, Advantech or another party connects an LVDS

              channel directly to the peripheral bridge (PCH), which uses two unidirectional, serial

              channels to transmit data in opposite directions, because the MIO-2360 has PCIe

              channels directly connected to the integrated peripheral bridge/chipset;

           (d) when manufacturing the MIO-2360, Advantech or another party provides a connector

              to connect the computer to a console, because the Advantech MIO-2360 has a variety

              of connector ports such as USB 3.x;

           (e) when manufacturing the MIO-2360, Advantech or another party provides a second

              LVDS channel using two unidirectional, serial channels to transmit data in opposite




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             directions through the connector to the console, because the Advantech MIO-2360

             has USB 3.x ports; and

         (f) when manufacturing the MIO-2360, Advantech or another party enables the

             transmission of USB protocol data through the second LVDS channel via a USB 3.x

             port and channel.

         153.   On information and belief, the Accused PCs are in relevant part substantially

similar to the exemplary MIO-2360 products, in particular with regard to the manner in which the

Accused Servers include and utilize PCIe and/or USB 3.x functionality. This Section is thus

illustrative of the manner in which Advantech infringes the claims of the ’654 patent as to each of

the Accused PCs.

         154.   ACQIS’ infringement allegations against the Accused PCs are not limited to claim

23 of the ’654 patent, and additional infringed claims will be identified through infringement

contentions and discovery.

         155.   The above-described acts of infringement committed by Advantech have caused

injury and damage to ACQIS and ACQIS’ licensees.

         156.   ACQIS is entitled to recover all damages sustained as a result of Advantech’s

wrongful acts of infringement, but in no event less than a reasonable royalty pursuant to 35 U.S.C.

§ 284.

                                 JURY TRIAL DEMANDED
         ACQIS hereby demands a trial by jury on all claims and issues so triable.

                                  PRAYER FOR RELIEF
         WHEREFORE, Plaintiff ACQIS respectfully requests that this Court grant the following

relief to ACQIS:




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        A.      enter judgment that Advantech has infringed one or more claims of each of

 the ACQIS Patents through the importation into the United States of Accused Advantech

 Products made abroad using patented processes claimed in the ACQIS Patents;

        B.      enter judgement that such infringement is willful as to one or more of the

 ACQIS Patents;

        C.      enter judgment awarding ACQIS monetary relief pursuant to 35 U.S.C.

 § 284 in an amount adequate to compensate for Advantech’s infringement of the ACQIS

 Patents to be determined at trial, but not less than a reasonable royalty, awarding ACQIS all

 pre- and post-judgment interest and costs, and awarding ACQIS enhanced damages for

 Advantech’s willful infringement of one or more of the ACQIS Patents;

        D.      enter an order, pursuant to 35 U.S.C. § 285, declaring this an exceptional

 case and awarding to ACQIS its reasonable attorneys’ fees; and

        E.      enter an order awarding to ACQIS such other and further relief, whether at

 law or in equity, that this Court seems just, equitable, and proper.

Dated: December 22, 2023.             Respectfully submitted,

                                        By: /s/ Paige Arnette Amstutz
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